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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                ANDERSON DIVISION

Bradley Hieronymus,                         )
                                            )
                              Plaintiff,    )
                                            )
vs.                                         )
                                            )
Felix Barron, Ph.D., individually and in )
his official capacity as an employee of     )
Clemson University; Alesia Smith,           )                NOTICE OF REMOVAL
Executive Director for Equity Compliance)
Title IX Coordinator, in her individual )
capacity and in her official capacity as an )
employee of Clemson University;             )
Clemson University; and the Board of        )
Trustees of Clemson University              )
                                            )
                              Defendants. )


TO:    JOHN G. RECKENBEIL, ESQ. AND JEFFREY D. EZELL, ESQ., ATTORNEYS
       FOR PLAINTIFF; AND P. CHRISTOPHER SMITH, JR., ESQ. AND JAMES P.
       WALSH, ESQ., ATTORNEYS FOR DEFENDANT, FELIX BARRON:

       YOU WILL PLEASE TAKE NOTICE that the Defendants, Clemson University, Alesia

Smith, and the Board of Trustees of Clemson University, remove the above-captioned case from

the Circuit Court of Oconee County, South Carolina, into the United States District Court, District

of South Carolina, Anderson Division. This removal is proper on the following grounds:

       1.      A civil action has been commenced and is now pending in the Circuit Court of

Oconee County, State of South Carolina, styled Bradley Hieronymus v. Felix Barron, et al., Civil

Action Number 2019-CP-37-00282.

       2.      The Defendants are entitled to removal of the aforesaid to this Court because the

Complaint raises allegations arising under the Constitution and laws of the United States as

contemplated by 28 U.S.C. § 1331.

       3.      This action was commenced by service of the Summons and Complaint, attached

hereto as Exhibit A, effectuated by Proof of Service on May 28, 2019, attached hereto as Exhibit
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B. Pursuant to 28 U.S.C. § 1446, this Notice of Removal is filed within thirty (30) days of service

upon these Defendants of the initial pleadings setting forth the claim upon which relief is requested.

These Defendants will file an Answer as provided by law.

       4.        The Honorable Beverly H. Whitfield, Oconee County Clerk of Court, has been

provided a copy of this Notice of Removal.

       WHEREFORE, these Defendants give notice that the aforesaid action is removed from the

Circuit Court of Ocoee County, State of South Carolina, and to this Court for trial and

determination.

                                               WILLSON JONES CARTER & BAXLEY, P.A.



                                               BY:    /s/Charles F. Turner, Jr.
                                                      Charles F. Turner, Jr. (Fed. ID #5849)
                                                      Wilson S. Sheldon (Fed. ID #5464)
                                                      872 South Pleasantburg Drive
                                                      Greenville, SC 29607
                                                      Phone: 864-672-3711
                                                      Fax:     864-373-7055

                                                      Attorneys for the Defendants,
                                                      Clemson University, Alesia Smith and
                                                      The Board of Trustees of Clemson University

Greenville, South Carolina

June 14, 2019
